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                               PAR EPIC STIPULATION
                                     EXHIBIT A
NDC                   Drug                              EPIC       EPIC
                                                        Start Date End Date

00044210070           SSD 1% CREAM                       4/1/1991
00044210071           SSD 1% CREAM                       4/1/1991
00087944211           QUESTRAN LIGHT POWDER              4/1/1991
49884000901           ISOSORBIDE DN 30MG TABLET          4/1/1991
49884000910           ISOSORBIDE DN 30MG TABLET          4/1/1991
49884002001           ISOSORBIDE DN 5MG TABLET           4/1/1991
49884002010           ISOSORBIDE DN 5MG TABLET           4/1/1991
49884002101           ISOSORBIDE DN 10MG TABLET          4/1/1991
49884002110           ISOSORBIDE DN 10MG TABLET          4/1/1991
49884002201           ISOSORBIDE DN 20MG TABLET          4/1/1991
49884002210           ISOSORBIDE DN 20MG TABLET          4/1/1991
49884002701           HYDRALAZINE 25MG TABLET            4/1/1991
49884002710           HYDRALAZINE 25MG TABLET            4/1/1991
49884002801           HYDRALAZINE 50MG TABLET            4/1/1991
49884002810           HYDRALAZINE 50MG TABLET            4/1/1991
49884002901           HYDRALAZINE 10MG TABLET            4/1/1991
49884002910           HYDRALAZINE 10MG TABLET            4/1/1991
49884003401           MECLIZINE 12.5MG TABLET            4/1/1991
49884003410           MECLIZINE 12.5MG TABLET            4/1/1991
49884003501           MECLIZINE 25MG TABLET              4/1/1991
49884003510           MECLIZINE 25MG TABLET              4/1/1991
49884004301           CYPROHEPTADINE 4MG TABLET          4/1/1991
49884004310           CYPROHEPTADINE 4MG TABLET          4/1/1991
49884005401           IMIPRAMINE HCL 10MG TABLET         4/1/1991
49884005410           IMIPRAMINE HCL 10MG TABLET         4/1/1991
49884005501           IMIPRAMINE HCL 25MG TABLET         4/1/1991
49884005510           IMIPRAMINE HCL 25MG TABLET         4/1/1991
49884005601           IMIPRAMINE HCL 50MG TABLET         4/1/1991
49884005610           IMIPRAMINE HCL 50MG TABLET         4/1/1991
49884005972           NICOTINE 14MG/24HR PATCH           4/1/1991
49884006101           FLUPHENAZINE 1MG TABLET            4/1/1991
49884006105           FLUPHENAZINE 1MG TABLET            4/1/1991
49884006201           FLUPHENAZINE 2.5MG TABLET          4/1/1991
49884006205           FLUPHENAZINE 2.5MG TABLET          4/1/1991
49884006372           NICOTINE 21MG/24HR PATCH           4/1/1991
49884006401           FLUPHENAZINE 10MG TABLET           4/1/1991
49884006405           FLUPHENAZINE 10MG TABLET           4/1/1991
49884007601           FLUPHENAZINE 5MG TABLET            4/1/1991
49884007605           FLUPHENAZINE 5MG TABLET            4/1/1991
49884008301           DEXAMETHASONE 0.25MG TABLET        4/1/1991
49884008310           DEXAMETHASONE 0.25MG TABLET        4/1/1991
49884008401           DEXAMETHASONE 0.5MG TABLET         4/1/1991
49884008410           DEXAMETHASONE 0.5MG TABLET         4/1/1991
49884008501           DEXAMETHASONE 0.75MG TABLET        4/1/1991


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                               PAR EPIC STIPULATION
                                     EXHIBIT A
NDC                   Drug                              EPIC       EPIC
                                                        Start Date End Date

49884008510           DEXAMETHASONE 0.75MG TABLET        4/1/1991
49884008601           DEXAMETHASONE 1.5MG TABLET         4/1/1991
49884008610           DEXAMETHASONE 1.5MG TABLET         4/1/1991
49884008701           DEXAMETHASONE 4MG TABLET           4/1/1991
49884008703           DEXAMETHASONE 4MG TABLET           4/1/1991
49884008710           DEXAMETHASONE 4MG TABLET           4/1/1991
49884010401           ALLOPURINOL 100MG TABLET           4/1/1991
49884010410           ALLOPURINOL 100MG TABLET           4/1/1991
49884010501           ALLOPURINOL 300MG TABLET           4/1/1991
49884010505           ALLOPURINOL 300MG TABLET           4/1/1991
49884010510           ALLOPURINOL 300MG TABLET           4/1/1991
49884011701           AMILORIDE HCL 5MG TABLET           4/1/1991
49884011705           AMILORIDE HCL 5MG TABLET           4/1/1991
49884011710           AMILORIDE HCL 5MG TABLET           4/1/1991
49884012101           HYDRALAZINE 100MG TABLET           4/1/1991
49884012110           HYDRALAZINE 100MG TABLET           4/1/1991
49884012901           DEXAMETHASONE 6MG TABLET           4/1/1991
49884012903           DEXAMETHASONE 6MG TABLET           4/1/1991
49884014301           HYDRA‐ZIDE 25/25 CAPSULE           4/1/1991
49884014401           HYDRA‐ZIDE 50/50 CAPSULE           4/1/1991
49884014501           HYDRA‐ZIDE 100/50 CAPSULE          4/1/1991
49884016205           IBUPROFEN 400MG TABLET             4/1/1991
49884016401           BENZTROPINE MES 0.5MG TAB          4/1/1991
49884016501           BENZTROPINE MES 1MG TABLET         4/1/1991
49884016510           BENZTROPINE MES 1MG TABLET         4/1/1991
49884016601           BENZTROPINE MES 2MG TABLET         4/1/1991
49884016610           BENZTROPINE MES 2MG TABLET         4/1/1991
49884019401           FLURAZEPAM 30MG CAPSULE            4/1/1991
49884019405           FLURAZEPAM 30MG CAPSULE            4/1/1991
49884021605           IBUPROFEN 800MG TABLET             4/1/1991
49884021701           DOXEPIN 10MG CAPSULE               4/1/1991
49884021710           DOXEPIN 10MG CAPSULE               4/1/1991
49884021801           DOXEPIN 25MG CAPSULE               4/1/1991
49884021810           DOXEPIN 25MG CAPSULE               4/1/1991
49884021901           DOXEPIN 50MG CAPSULE               4/1/1991
49884021910           DOXEPIN 50MG CAPSULE               4/1/1991
49884022001           DOXEPIN 75MG CAPSULE               4/1/1991
49884022010           DOXEPIN 75MG CAPSULE               4/1/1991
49884022101           DOXEPIN 100MG CAPSULE              4/1/1991
49884022110           DOXEPIN 100MG CAPSULE              4/1/1991
49884022201           DOXEPIN 150MG CAPSULE              4/1/1991
49884022203           DOXEPIN 150MG CAPSULE              4/1/1991
49884022205           DOXEPIN 150MG CAPSULE              4/1/1991
49884022301           HALOPERIDOL 0.5MG TABLET           4/1/1991


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                               PAR EPIC STIPULATION
                                     EXHIBIT A
NDC                   Drug                              EPIC       EPIC
                                                        Start Date End Date

49884022401           HALOPERIDOL 1MG TABLET             4/1/1991
49884022501           HALOPERIDOL 2MG TABLET             4/1/1991
49884022510           HALOPERIDOL 2MG TABLET             4/1/1991
49884022601           HALOPERIDOL 5MG TABLET             4/1/1991
49884022605           HALOPERIDOL 5MG TABLET             4/1/1991
49884022610           HALOPERIDOL 5MG TABLET             4/1/1991
49884022701           HALOPERIDOL 10MG TABLET            4/1/1991
49884022705           HALOPERIDOL 10MG TABLET            4/1/1991
49884024001           TEMAZEPAM 15MG CAPSULE             4/1/1991
49884024005           TEMAZEPAM 15MG CAPSULE             4/1/1991
49884024101           TEMAZEPAM 30MG CAPSULE             4/1/1991
49884024105           TEMAZEPAM 30MG CAPSULE             4/1/1991
49884024601           CARISOPRODOL COMPOUND TAB          4/1/1991
49884024605           CARISOPRODOL COMPOUND TAB          4/1/1991
49884025601           MINOXIDIL 2.5MG TABLET             4/1/1991
49884025701           MINOXIDIL 10MG TABLET              4/1/1991
49884025705           MINOXIDIL 10MG TABLET              4/1/1991
49884028901           MEGESTROL 20MG TABLET              4/1/1991
49884029001           MEGESTROL 40MG TABLET              4/1/1991
49884029004           MEGESTROL 40MG TABLET              4/1/1991
49884029005           MEGESTROL 40MG TABLET              4/1/1991
49884036148           METAPROTERENOL 0.6% SOLN           4/1/1991
49884044801           ALPRAZOLAM 0.25MG TABLET           4/1/1991
49884044805           ALPRAZOLAM 0.25MG TABLET           4/1/1991
49884044901           ALPRAZOLAM 0.5MG TABLET            4/1/1991
49884044905           ALPRAZOLAM 0.5MG TABLET            4/1/1991
49884045001           ALPRAZOLAM 1MG TABLET              4/1/1991
49884045005           ALPRAZOLAM 1MG TABLET              4/1/1991
49884045305           TRIAZOLAM 0.125MG TABLET           4/1/1991
49884045312           TRIAZOLAM 0.125MG TABLET           4/1/1991
49884045405           TRIAZOLAM 0.25MG TABLET            4/1/1991
49884045412           TRIAZOLAM 0.25MG TABLET            4/1/1991
49884045462           TRIAZOLAM 0.25MG TABLET            4/1/1991
49884045802           AMIODARONE HCL 200MG TABLET        4/1/1991
49884046701           IBUPROFEN 400MG TABLET             4/1/1991
49884046705           IBUPROFEN 400MG TABLET             4/1/1991
49884046801           IBUPROFEN 600MG TABLET             4/1/1991
49884046805           IBUPROFEN 600MG TABLET             4/1/1991
49884046901           IBUPROFEN 800MG TABLET             4/1/1991
49884046905           IBUPROFEN 800MG TABLET             4/1/1991
49884047201           ORPHENGESIC TABLET                 4/1/1991
49884047301           ORPHENGESIC FORTE TABLET           4/1/1991
49884047401           ACYCLOVIR 800MG TABLET             4/1/1991
49884049001           METHYLPREDNISOLONE 4MG TAB         4/1/1991


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                                PAR EPIC STIPULATION
                                      EXHIBIT A
NDC                   Drug                              EPIC       EPIC
                                                        Start Date End Date

49884049059           METHYLPREDNISOLONE 4MG TAB         4/1/1991
49884049501           CLONAZEPAM 0.5MG TABLET            4/1/1991
49884049601           CLONAZEPAM 1MG TABLET              4/1/1991
49884049605           CLONAZEPAM 1MG TABLET              4/1/1991
49884049701           CLONAZEPAM 2MG TABLET              4/1/1991
49884049801           NICARDIPINE 20MG CAPSULE           4/1/1991
49884049901           NICARDIPINE 30MG CAPSULE           4/1/1991
49884054401           RANITIDINE 150MG TABLET            4/1/1991
49884054402           RANITIDINE 150MG TABLET            4/1/1991
49884054405           RANITIDINE 150MG TABLET            4/1/1991
49884054410           RANITIDINE 150MG TABLET            4/1/1991
49884054501           RANITIDINE 300MG TABLET            4/1/1991
49884054504           RANITIDINE 300MG TABLET            4/1/1991
49884054511           RANITIDINE 300MG TABLET            4/1/1991
49884054901           PROCHLORPERAZINE 5MG TABLET        4/1/1991
49884055001           PROCHLORPERAZINE 10MG TAB          4/1/1991
49884055301           DOXAZOSIN MESYLATE 2MG TAB         4/1/1991
49884055401           DOXAZOSIN MESYLATE 4MG TAB         4/1/1991
49884055501           DOXAZOSIN MESYLATE 8MG TAB         4/1/1991
49884056501           ACYCLOVIR 200MG CAPSULE            4/1/1991
49884056601           ACYCLOVIR 400MG TABLET             4/1/1991
49884056701           ACYCLOVIR 800MG TABLET             4/1/1991
49884056905           AMOXICILLIN 500MG CAPSULE          4/1/1991
49884057201           GUANFACINE 1MG TABLET              4/1/1991
49884057301           GUANFACINE 2MG TABLET              4/1/1991
49884057647           AMPICILLIN 125MG/5ML SUSP          4/1/1991
49884057747           AMPICILLIN 250MG/5ML SUSP          4/1/1991
49884057801           PENICILLIN VK 250MG TABLET         4/1/1991
49884057901           PENICILLIN VK 500MG TABLET         4/1/1991
49884057910           PENICILLIN VK 500MG TABLET         4/1/1991
49884058201           SOTALOL 80MG TABLET                4/1/1991
49884058301           SOTALOL 120MG TABLET               4/1/1991
49884058401           SOTALOL 160MG TABLET               4/1/1991
49884058501           SOTALOL 240MG TABLET               4/1/1991
49884058701           ACEBUTOLOL 200MG CAPSULE           4/1/1991
49884058801           ACEBUTOLOL 400MG CAPSULE           4/1/1991
49884058901           INDAPAMIDE 1.25MG TABLET           4/1/1991
49884058910           INDAPAMIDE 1.25MG TABLET           4/1/1991
49884059001           INDAPAMIDE 2.5MG TABLET            4/1/1991
49884059010           INDAPAMIDE 2.5MG TABLET            4/1/1991
49884059101           ENALAPRIL MALEATE 2.5MG TAB        4/1/1991
49884059110           ENALAPRIL MALEATE 2.5MG TAB        4/1/1991
49884059201           ENALAPRIL MALEATE 5MG TAB          4/1/1991
49884059210           ENALAPRIL MALEATE 5MG TAB          4/1/1991


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                                PAR EPIC STIPULATION
                                      EXHIBIT A
NDC                   Drug                              EPIC       EPIC
                                                        Start Date End Date

49884059301           ENALAPRIL MALEATE 10MG TAB         4/1/1991
49884059310           ENALAPRIL MALEATE 10 MG TAB        4/1/1991
49884059401           ENALAPRIL MALEATE 20MG TAB         4/1/1991
49884059410           ENALAPRIL MALEATE 20 MG TAB        4/1/1991
49884059601           ETODOLAC 500MG TABLET              4/1/1991
49884059902           TICLOPIDINE 250MG TABLET           4/1/1991
49884059905           TICLOPIDINE 250MG TABLET           4/1/1991
49884059911           TICLOPIDINE 250MG TABLET           4/1/1991
49884060036           SSD 1% CREAM                       4/1/1991
49884060040           SSD 1% CREAM                       4/1/1991
49884060057           SSD 1% CREAM                       4/1/1991
49884060058           SSD 1% CREAM                       4/1/1991
49884060085           SSD 1% CREAM                       4/1/1991
49884060136           SSD AF 1% CREAM                    4/1/1991
49884060140           SSD AF 1% CREAM                    4/1/1991
49884060201           ALLOPURINOL 100MG TABLET           4/1/1991
49884060210           ALLOPURINOL 100MG TABLET           4/1/1991
49884060301           ALLOPURINOL 300MG TABLET           4/1/1991
49884060305           ALLOPURINOL 300MG TABLET           4/1/1991
49884060310           ALLOPURINOL 300MG TABLET           4/1/1991
49884061002           SELEGILINE HCL 5MG TABLET          4/1/1991
49884061901           CAPTOPRIL 12.5MG TABLET            4/1/1991
49884061910           CAPTOPRIL 12.5MG TABLET            4/1/1991
49884062001           CAPTOPRIL 25MG TABLET              4/1/1991
49884062010           CAPTOPRIL 25MG TABLET              4/1/1991
49884062101           CAPTOPRIL 50MG TABLET              4/1/1991
49884062201           CAPTOPRIL 100MG TABLET             4/1/1991
49884063701           CIPROFLOXACIN HCL 250 MG TAB       4/1/1991
49884063801           CIPROFLOXACIN HCL 500 MG TAB       4/1/1991
49884063805           CIPROFLOXACIN HCL 500 MG TAB       4/1/1991
49884063903           CIPROFLOXACIN HCL 750 MG TAB       4/1/1991
49884063905           CIPROFLOXACIN HCL 750 MG TAB       4/1/1991
49884064001           METHIMAZOLE 5MG TABLET             4/1/1991
49884064101           METHIMAZOLE 10MG TABLET            4/1/1991
49884064702           RANITIDINE 150MG CAP               4/1/1991
49884064705           RANITIDINE 150MG CAPSULE           4/1/1991
49884064801           RANITIDINE 300MG CAPSULE           4/1/1991
49884064811           RANITIDINE 300MG CAP               4/1/1991
49884065701           ZORPRIN 800MG TABLET SA            4/1/1991
49884068701           ENALAPRIL/HCTZ 10‐25MG TAB         4/1/1991
49884070701           BUSPIRONE HCL 5MG TABLET           4/1/1991
49884070801           BUSPIRONE HCL 10MG TABLET          4/1/1991
49884070805           BUSPIRONE HCL 10 MG TABLET         4/1/1991
49884072101           BUSPIRONE HCL 15MG TABLET          4/1/1991


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                                PAR EPIC STIPULATION
                                      EXHIBIT A
NDC                   Drug                              EPIC       EPIC
                                                        Start Date End Date

49884072102           BUSPIRONE HCL 15MG TABLET          4/1/1991
49884072113           BUSPIRONE HCL 15MG TABLET          4/1/1991
49884072301           OXAPROZIN 600MG TABLET             4/1/1991
49884072305           OXAPROZIN 600MG TABLET             4/1/1991
49884072401           HYDROXYUREA 500MG CAPSULE          4/1/1991
49884072501           BUSPIRONE HCL 7.5MG TABLET         4/1/1991
49884072505           BUSPIRONE HCL 7.5 MG TABLET        4/1/1991
49884072601           DOXYCYCLINE MONO 50MG CAP          4/1/1991
49884072703           DOXYCYCLINE MONO 100MG CAP         4/1/1991
49884072704           DOXYCYCLINE MONO 100MG CAP         4/1/1991
49884073201           FLUOXETINE 10MG CAPSULE            4/1/1991
49884073210           FLUOXETINE 10MG CAPSULE            4/1/1991
49884073301           FLUOXETINE 20MG CAPSULE            4/1/1991
49884073310           FLUOXETINE 20MG CAPSULE            4/1/1991
49884073401           FLUOXETINE HCL 10MG TABLET         4/1/1991
49884073410           FLUOXETINE HCL 10MG TABLET         4/1/1991
49884073411           FLUOXETINE HCL 10MG TABLET         4/1/1991
49884073482           FLUOXETINE HCL 10MG TABLET         4/1/1991
49884073501           FLUOXETINE HCL 20MG TABLET         4/1/1991
49884073510           FLUOXETINE HCL 20MG TABLET         4/1/1991
49884073511           FLUOXETINE HCL 20MG TABLET         4/1/1991
49884073582           FLUOXETINE HCL 20MG TABLET         4/1/1991
49884073905           METFORMIN HCL 500 MG TABLET        4/1/1991
49884074005           METFORMIN HCL 850MG TABLET         4/1/1991
49884074301           FLUOXETINE 40MG CAPSULE            4/1/1991
49884074311           FLUOXETINE HCL 40MG CAPSULE        4/1/1991
49884075101           FLUOXETINE 20MG CAPSULE            4/1/1991
49884075110           FLUOXETINE 20MG CAPSULE            4/1/1991
49884077101           DIPHENOXYLATE/ATROPINE TAB         4/1/1991
49884077110           DIPHENOXYLATE/ATROPINE TAB         4/1/1991
49884077701           IBUPROFEN 400MG TABLET             4/1/1991
49884077705           IBUPROFEN 400MG TABLET             4/1/1991
49884077801           IBUPROFEN 600MG TABLET             4/1/1991
49884077805           IBUPROFEN 600MG TABLET             4/1/1991
49884077901           IBUPROFEN 800MG TABLET             4/1/1991
49884077905           IBUPROFEN 800MG TABLET             4/1/1991
49884078253           TIZANIDINE HCL 2 MG TABLET         4/1/1991
49884078353           TIZANIDINE HCL 4MG TABLET          4/1/1991
49884079166           QUESTRAN POWDER                    4/1/1991
49884079289           QUESTRAN LIGHT POWDER              4/1/1991
49884079701           SUMYCIN 250MG TABLET               4/1/1991
49884079801           SUMYCIN 500MG TABLET               4/1/1991
49884079933           SUMYCIN 125 MG/5 ML ORAL SUSP      4/1/1991
49884087311           MIRTAZAPINE 45MG TABLET            4/1/1991


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                                PAR EPIC STIPULATION
                                      EXHIBIT A
NDC                   Drug                              EPIC       EPIC
                                                        Start Date End Date

49884087605           PAROXETINE HCL 10 MG TABLET        4/1/1991
49884087611           PAROXETINE HCL 10 MG TABLET        4/1/1991
49884087701           PAROXETINE HCL 20 MG TABLET        4/1/1991
49884087705           PAROXETINE HCL 20 MG TABLET        4/1/1991
49884087711           PAROXETINE HCL 20 MG TABLET        4/1/1991
49884087805           PAROXETINE HCL 30 MG TABLET        4/1/1991
49884087811           PAROXETINE HCL 30 MG TABLET        4/1/1991
49884087905           PAROXETINE HCL 40 MG TABLET        4/1/1991
49884087911           PAROXETINE HCL 40 MG TABLET        4/1/1991
49884090738           MEGESTROL ACET 40MG/ML SUSP        4/1/1991
49884090761           MEGESTROL ACET 40 MG/ML SUSP       4/1/1991
49884096701           GLYBURID‐METFORMIN 1.25/250 MG     4/1/1991
49884096801           GLYBURIDE‐METFORMIN 2.5/500 MG     4/1/1991
49884096901           GLYBURIDE‐METFORMIN 5/500 MG       4/1/1991




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